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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                     CHARLOTTESVILLE DIVISION


        ELIZABETH SINES, et al.,
                                          Plaintiffs,                   CASE NO. 3:17-cv-72

        v.
                                                                        ORDER
        JASON KESSLER, et al.,
                                          Defendants.
                                                                        JUDGE NORMAN K. MOON


                   Order Denying Defendant Cantwell’s Motions at Dkt. 1158 and 1160

              Before the Court are two of Defendant Cantwell’s motions pertaining to Plaintiffs’ expert

   witnesses, Dkt. 1158 and 1160.

              In Dkt. 1158, Cantwell moves the Court to “Limit The Testimony Of Plaintiffs’ Experts

   Peter Simi And Kathleen Blee And To Bar Argument And Testimony Regarding Defendants’

   Alleged Animus Towards ‘Immigrants, Social Minorities, And Feminism’ As Irrelevant And

   Intended To Confuse and Mislead The Jury.” The Court must construe Cantwell’s pro se

   pleading liberally,1 but it is difficult to determine the exact legal claim or claims being made in

   the motion. For the most part, Cantwell’s motion airs his grievances with the content of what he

   expects Plaintiffs’ experts to testify about. Interpreting the motion generously, Cantwell attacks

   the underlying reasoning and evidentiary bases of Simi and Blee’s opinions. The Court has

   already ruled on similar arguments raised by Cantwell’s co-Defendants, Dkt. 937, and does not

   need to reiterate those reasons in full here. Cantwell also makes a relevance argument and a Fed.



   1
       See Boag v. MacDougall, 454 U.S. 364, 365 (1982) (per curiam).
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   R. Evid. 403 argument, but the Court cannot rule on whether the testimony of a witness who has

   not testified yet is categorically relevant or inflammatory. In short, the Court will not rule Simi’s

   and Blee’s testimony inadmissible under Fed. R. Evid. 702 and 403. Therefore, the Court will

   deny Cantwell’s motion at Dkt. 1158.

          In Dkt. 1160, Cantwell again moves the Court to exclude the expert testimony of

   Plaintiffs’ expert witnesses—here, Dr. Lipstadt, Dr. Simi, and Dr. Blee. The motion appears to

   make two claims: first, as in the motion at Dkt. 1158, Cantwell challenges the evidentiary

   support behind the experts’ opinions; second, Cantwell argues that Plaintiffs did not timely

   disclose the experts. See Dkt. 1160. As for the first argument, the Court reiterates its holding

   pertaining to Fed. R. Evid. 703: Plaintiffs’ expert witnesses may rely on inadmissible facts and

   data in formulating an opinion. See United States v. Abbas, 74 F.3d 506, 513 (4th Cir. 1996).

   Cantwell makes no argument that Plaintiffs’ experts deviated from the norms of their respective

   fields. See Fed. R. Evid 703 (permitting an expert to base an opinion on otherwise inadmissible

   facts if “experts in the particular field would reasonably rely on those kinds of facts or data.”).

          As for the second argument, even if Plaintiffs did not timely disclose the experts to

   Cantwell, the experts’ reports and testimony are nonetheless admissible under the factors laid out

   in Southern States Rack & Fixture, Inc. v. Sherwin-Williams Co., 318 F.3d 592, 597 (4th Cir.

   2003). Under Rule 37(c), a party who fails to make timely disclosures of a witness “is not

   allowed to use that information or witness to supply evidence on a motion, at a hearing, or at a

   trial, unless the failure was substantially justified or is harmless.” The burden of establishing

   substantial justification or harmlessness is on the non-disclosing party (Plaintiffs, here). Southern

   States, 318 F.3d at 596. Plaintiffs properly disclosed the expert witnesses in April 2021—perhaps


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   late (the Court makes no specific finding about whether they were late), but still long before trial.

   The purpose of the Federal Rules’ disclosure requirement is to afford the opposing party a

   “reasonable opportunity to prepare for effective cross examination.” Fed. R. Civ. P. 26 advisory

   committee’s notes to 1993 amendment. The Court finds that Cantwell had sufficient time to

   prepare for effective cross examination. Therefore, the Court holds that Plaintiffs’ disclosure,

   even if late, was harmless.

          In short, the Court DENIES Defendant Cantwell’s motions at Dkt. 1158 and 1160.

          The Clerk of Court is directed to send a copy of this Order to all counsel of record and

   parties proceeding pro se.

          Entered this _____
                       27th day of October 2021.




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